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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND
                                       Southern Division


ANGELITA BAILEY,                              :
                                              :
individually, and on behalf of                :
all others similarly situated,                :
                                              :       Civil Action No. 8:23-cv-827-DKC
                       Plaintiff,             :
                                              :
v.                                            :
                                              :
MERCURY FINANCIAL, LLC,                       :
                                              :
                  Defendant.                  :
____________________________________

         PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION FOR LEAVE TO FILE
        A SURREPLY IN OPPOSITION TO DEFENDANT’S MOTION TO COMPEL
     ARBITRATION AND STAY PROCEEDINGS AND TO STRIKE CLASS ALLEGATIONS

        Plaintiff, Angelita Bailey, respectfully files this memorandum of law in support of her

Motion For Leave to file a Surreply in Opposition to Defendant’s Motion to Compel Arbitration

and Stay Proceedings and to Strike Class Allegations (the “Motion”), in order to respond to a

new affidavit, a new document, and five new arguments from Defendant Mercury Financial,

LLC (“Mercury”) which were contained in its Reply in Support of Motion to Compel Arbitration

and Stay Proceedings and Strike Class Allegations. See ECF No. 15 (the “Reply”).

I.      Introduction

        Mercury moved to compel arbitration (ECF No. 7) and Plaintiff opposed that motion

(ECF No. 11). Mercury then filed a Reply, supported by documents which were not part of its

original motion - a “Supplemental Declaration of Mercury Financial, LLC” (ECF No. 15-1) and

a new “Terms of Use” document (ECF No. 15-2). And, Mercury made the following five new

arguments in its Reply, based in part on its newly revealed documents:


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      1. That Mercury is the agent of First Bank & Trust;

      2. That FB&T sold Plaintiff’s account directly to Velocity;

      3. That federal law requires Mercury to provide Plaintiff advance notice of changes to the

         arbitration and delegation clauses which Mercury relies upon here;

      4. That the language of the Cardholder Agreement prohibits retroactive changes to the

         arbitration and delegation clauses; and,

      5. That the Court should save the arbitration and delegation clauses in the Plaintiff’s illegal

         loan agreement from being illusory by applying the equitable “implied covenant of good

         faith and fair dealing.”

         Plaintiff has not had an opportunity to respond to Mercury’s new affidavit, its new

document, or its new arguments. Accordingly, Plaintiff respectfully requests leave to file the

Surreply attached as Exhibit A.

II.      Legal Standard

         This Court has held that, where a party “‘asserted new arguments’ and ‘attached

documents not previously discussed or relied upon,’” a surreply was appropriate. Sampson v. City

of Cambridge, Maryland, 251 F.R.D. 172, 175 n.3 (D. Md. 2008). “Surreplies may be permitted

when the moving party would be unable to contest matters presented to the court for the first

time in the opposing party's reply.” Khoury v. Meserve, 268 F. Supp. 2d 600, 605 (D. Md. 2003),

(citing Lewis v. Rumsfeld, 154 F.Supp.2d 56, 61 (D.D.C.2001)).

         “A surreply is appropriate where a party has not had the opportunity to contest matters

introduced for the first time in the opposing party's reply.” Animal Welfare Institute v. Martin, 2008

WL 5062354 (D.Me. Nov. 26, 2008), citing United States ex rel. Pogue v. Diabetes Treatment Ctrs. of Am

., Inc., 238 F.Supp.2d 270, 276-77 (D.D.C.2002) (“The standard for granting leave to file a

surreply is whether the party making the motion would be unable to contest matters presented to

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the court for the first time in the opposing party's reply. The matter must be truly new.” (internal

citation and quotation omitted in Martin)). “A surreply is most appropriate where the new matter

introduced is factual.” United States ex rel. Pogue, 238 F. Supp at 277, citing Alexander v. FBI, 186

F.R.D. 71, 74 (D.D.C.1998) (Lamberth, J.) (granting leave to file a surreply to respond to a new

declaration).

        Indeed, there is authority from this Court that when an affidavit is filed in a reply brief –

as Mercury filed here – and no surreply is filed to address the new affidavit, the Court may take

that silence into consideration in determining the motion. See Kerns v. U.S., 534 F. Supp. 2d 633,

640 (D. Md. 2008) (“although the … affidavit was only offered for the first time in the

defendant’s reply brief, [the plaintiff] has not sought to file a surreply to explain how” remarks in

the affidavit did not support dismissal of her case).

        And, where a reply brief presents a new legal theory, a surreply is warranted. See Williams

v. United States, No. CR DKC 10-0109, 2017 WL 5668206, at *1 (D. Md. Nov. 27, 2017) (where

“surreply addresses [a] new legal theory identified for the first time in the reply brief, it will be

accepted.”) Similarly, where a reply brief contains new arguments, a surreply is appropriate. See

Vason v. Bd. of Educ. of Montgomery Cnty., No. CV DKC 15-2228, 2017 WL 412528, at *1 (D. Md.

Jan. 31, 2017) (where defendant made “arguments for the first time in its reply, Plaintiff's motion

for surreply will be granted.”); see also United Food & Com. Workers Union, Loc. 400 v. Kroger Mid-Atl.,

No. CIV.A. DKC 14-3133, 2015 WL 1461368, at *2 (D. Md. Mar. 27, 2015)

(where a “reply memorandum raises new issues to which Kroger did not previously have an

opportunity to respond, the motion for leave to file a surreply will be granted and the surreply

will be considered.”)




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III. A Surreply Is Appropriate to Respond to Mercury’s New Documents,
Arguments, and Legal Theories

         A surreply is appropriate here, where Mercury submitted an entirely new Declaration, a

new document, and new arguments in its Reply. See, e.g., Sampson, 251 F.R.D. at 175 n.3.

Mercury’s new arguments also include new legal theories – that it is FB&T’s agent, that federal

law requires it to give notice of changes, that the plain language of the Cardholder Agreement

prohibits retroactive changes, and that the Court should apply the equitable implied covenant of

good faith and fair dealing to save the arbitration and delegation clauses in Plaintiff’s illegal loan

contract from being illusory, for example. See Williams, 2017 WL 5668206, at *1. Because

Mercury’s new declaration, document, arguments and legal theories were not previously

included, discussed or relied upon before Defendants’ Reply, Plaintiff must respond to them in a

surreply or not at all. And, Plaintiff’s proposed Surreply confines itself to addressing these new

documents and arguments. See Exhibit A, Proposed Surreply.

         This is not a situation like Robinson v. Fountainhead Title Group Corp., 252 F.R.D. 275, 278

n.2 (D.Md. 2008), where the Defendant attempted to file a surreply based on alleged “new

arguments” which had actually been raised in the opening brief. Rather, Mercury has actually

produced an entirely new affidavit and new supporting document – thus expanding the record of

this case in its Reply. By doing so, Mercury will have effectively prevented Plaintiff from having

any opportunity to address its new affidavit, document, and new arguments if a surreply is not

filed.

IV.      Conclusion

         For the reasons set forth above, Plaintiff moves for leave to file the limited Surreply

attached as Exhibit A to the Motion.

                                        Respectfully submitted,


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